      Case 4:07-cr-00127-SWW             Document 706        Filed 01/21/15     Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION



UNITED STATES OF AMERICA                                                      PLAINTIFF

vs.                                NO. 4:07CR00127-010 SWW

NATHANIEL BURROUGHS                                                           DEFENDANT


                                               ORDER

       The above entitled cause came on for hearing January 21, 2015 on government’s superseding

petition to revoke the supervised release [doc #692] previously granted this defendant in the United

States District Court for the Eastern District of Arkansas. Based upon the testimony of witnesses

and statements of counsel and defendant, the Court found that defendant has violated the conditions

of supervised release without just cause.

       IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release previously

granted this defendant, be, and it is hereby, revoked.

       IT IS FURTHER ORDERED that defendant shall serve a term of imprisonment of SEVEN

(7) MONTHS in the custody of the Bureau of Prisons. The Court recommends that defendant be

incarcerated at Texarkana, Texas or as close to central Arkansas as possible to be close to his

children; and that defendant participate in substance abuse programs and treatment during

incarceration.

       There will be a term of ONE (1) YEAR of supervised release following the term of

incarceration with the following conditions:

       1.        Defendant shall follow all standard conditions of supervised release.

       2.        Defendant shall participate, under the guidance and supervision of the U. S.
Case 4:07-cr-00127-SWW          Document 706         Filed 01/21/15      Page 2 of 2




       Probation Officer, in a substance abuse treatment program which may include drug
       testing, out-patient counseling, and/or residential treatment. Further, defendant shall
       abstain from the use of alcohol throughout the course of any treatment.

The defendant is remanded to custody.

IT IS SO ORDERED this 21st day of January 2015.

                                              /s/Susan Webber Wright

                                              United States District Judge
